                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF TENNESSEE
                               AT KNOXVILLE



 BOYD SMITH, NANCY SMITH,                 )
 JOEY SMITH, JEFFREY SMITH,
 JILL SMITH, BESSIE HACKNEY,              )
 WILLIAM GRAY, PEGGY GRAY,
 GREGORY HOUSTON, ERNEST                  )
 NICELY, and PATRICIA NICELY,
 for themselves and on behalf of all      )
 others similarly situated,
                                          )
             Plaintiffs
                                          )
                          v.                               No. 3:04-cv-591
                                          )
 FIRST CENTURY BANK, CONNIE
 DYER, SHERI LAWSON, and                  )
 DELORIS GRAVES,
                                          )
             Defendants
                                          )
 and
                                          )
 FIRST CENTURY BANK,
                                          )
             Counter-Plaintiff
                                          )
                          v.
                                          )
 BOYD SMITH, NANCY SMITH,
 JOEY SMITH and JEFFREY SMITH,            )

             Counter-Defendants           )




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                               MEMORANDUM OPINION



              This putative class action was filed as the result of allegedly fraudulent

 activity by defendant First Century Bank (FCB) and three of its current or former

 employees, defendants Connie Dyer, Sheri Lawson, and Deloris Graves.1 This

 matter is presently before the court on plaintiffs’ request for class certification set

 forth in their complaint [see Doc. 1, p.22].            The issues raised have been

 exceptionally well-briefed by the parties [see Docs. 41, 45, 46, 47, and 48]2, and oral

 argument was heard on July 12, 2005.3 For the reasons that follow, plaintiffs’ motion

 for class certification will be denied.




        1
          This lawsuit originally named another of FCB’s former employees, Karen Williams,
 as a defendant; however, pursuant to a memorandum opinion [Doc. 42] and order [Doc.
 43] filed on July 6, 2005, the court granted this defendant’s motion to dismiss so that she
 is no longer a party to this litigation.
        2
         The court would specifically commend counsel for plaintiffs and counsel for FCB for
 their outstanding briefs.
        3
          The court also addressed plaintiffs’ joint motion to consolidate this case [see Doc.
 38] with the case of Ernest and Patricia Nicely v. First Century Bank, et al., 3:05-cv-175
 [see Doc. 20], presently pending before the Honorable R. Leon Jordan, United States
 District Judge. In view of the common questions of law and fact in those two cases, see
 Fed.R.Civ.P. 42(a), and in further view of the fact that the only party who had any objection
 to a consolidation, Karen Williams, is no longer a party to this litigation, the undersigned
 recommended to the Honorable R. Allan Edgar, Chief United States District Judge, that
 these matters be consolidated and that Judge Jordan’s case be reassigned accordingly.
 The record reflects that Judge Edgar entered an appropriate order of consolidation and
 reassignment on July 18, 2005 [see Docs. 50 and 21, respectively].

                                              2


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                                            I.

                                      Introduction



               The class of plaintiffs for whom this action is filed is specifically

 described as follows:


               All customers of the Union County branch of [FCB] whose
               identities and/or financial information were used by
               employees or representatives of [FCB] without permission
               to issue loans, obtain credit, transfer funds, transfer
               property interests, and for other financial transactions
               during the period from January 1, 1998 to the present.


 [Doc. 1, p.2]. The putative class seeks compensatory, punitive and statutory

 damages as well as injunctive and equitable relief pursuant to federal and state law

 as follows:


                   1.     Violations of the Racketeer Influenced and
               Corrupt Organizations Act (Civil RICO), 18 U.S.C. §§ 1961,
               et seq. (Count I);

                  2.      Violations of the federal Consumer Credit
               Protection Act, 15 U.S.C. § 1681s-2 (Count II);

                  3.      Violations of federal statutes and regulations for
               protection of confidentiality of consumer information (Count
               III);

                  4.      Violations of the Tennessee Identity Theft
               Deterrence Act of 1999, T.C.A. §§ 47-18-2101, et seq.
               (Count IV);



                                            3


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                 5.      Violations of the Tennessee Consumer
              Protection Act (TCPA), Tennessee Code Annotated §§ 47-
              18-101, et seq. (Count V);

                 6.     Violations of the Tennessee Financial Records
              Privacy Act, Tennessee Code Annotated §§ 45-10-101, et
              seq. (Count VI);

                  7.      Breach of fiduciary duty (Count VII);

                  8.      Conversion (Count VIII); and

                  9.      Negligence (Count IX).4



                                             II.

                                  Plaintiffs’ Allegations


              In support of their request for class certification, plaintiffs emphasize the

 following allegations in their complaint:


                 (1)     During the period from January 1, 1998 through
              August 2004, the individual defendants and other
              representatives of FCB, whose names are unknown at this
              time, forged the signatures of FCB customers, notarized
              forged signatures of FCB customers, and otherwise without
              permission used the identities and confidential information
              of customers of the Union County Branch of FCB to
              fraudulently obtain loans, obtain credit, obtain funds,
              transfer funds, transfer property interests, and convert
              assets of plaintiffs and other FCB customers [see Doc. 1,
              ¶ 19].


        4
         Count X seeks equitable relief only and therefore does not allege a particular cause
 of action.

                                              4


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               (2)      FCB knew or should have known of the
            fraudulent activities of its representatives and employees
            but did not take action to stop the fraudulent activities and
            did not take action to protect its customers [see id., ¶ 21].

                (3)     FCB made negative information reports to
            consumer credit agencies about its customers based upon
            the fraudulent transactions, without verifying the accuracy
            of the information reported [see id., ¶ 22].

                (4)     In 2004, FCB investigated the activities of
            defendant Connie Dyer and other employees; however,
            FCB took no action to protect its customers, concealed the
            fraudulent activity from its customers, failed to return all of
            the funds and other assets transferred and/or taken from its
            customers, failed to correct false reports to creditors and
            credit agencies resulting from the fraudulent activities of its
            employees, refused to cancel and/or correct loans from
            FCB that were determined to be false and/or fraudulent,
            failed to record corrective deeds to correct the fraudulent
            property transfers, and attempted to force FCB customers
            to sign a release of all claims against it in order to receive
            reimbursement of funds taken from them and correction of
            their financial records [see id., ¶ 24].

               (5)      When FCB customers met with FCB representa-
            tives to discuss problems with loan documents, these
            representatives physically concealed the documents from
            the customers by partially covering the documents with
            their hands or paper so that the customers could only see
            their forged signatures but could not determine the nature
            of the documents [see id., ¶ 38].

                (6)    FCB failed to implement and follow security
            procedures, failed to protect the confidentiality of consumer
            information, failed to guard against misuse of that
            information, and failed to detect, report, and stop
            suspicious activities of its employees [see id., ¶ 61].

               (7)     FCB was negligent and failed to exercise the
            appropriate standard of care in hiring its employees and

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             representatives who engaged in the fraudulent activities
             [see id., ¶ 90].

                (8)     FCB was negligent in its supervision of its
             employees and representatives who engaged in the
             fraudulent activity [see id., ¶ 91].

                (9)      FCB was negligent in its retention of its
             employees who engaged in the fraudulent activity after
             receiving notice of those activities or information that
             should have put FCB on notice to investigate the problem
             [see id., ¶ 92].

               (10)      The class members need to know the full scope
             and extent of each forgery or fraudulent transaction made
             using their respective identities in order to fully address the
             problem of correcting the credit histories and the titles to
             their real and personal property [see id., ¶ 96].

                (11)     Many of the class members have not yet
             discovered the forgeries and fraudulent transactions made
             using their identities [see id., ¶ 97].

                 (12)   The class members will be irreparably harmed
             if they do not receive full disclosure and complete
             information concerning the forgeries and fraudulent
             transactions made using their identities, as well as the full
             scope of the transfer and conversion of their funds and
             properties [see id., ¶ 99].

               (13)     In the absence of a class action, most members
             of the class would find the cost of litigating their claims
             against these defendants to be too great and would have
             no effective remedy at law [see id., ¶ 33].


             In further support of their request for class certification, plaintiffs point

 out that one of the important purposes of this lawsuit is to obtain the following

 injunctive or equitable relief from the court on behalf of all class members:

                                            6


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                (1)    An order from the court requiring FCB to notify
            each of its customers during the period from 1998 to the
            present of the discovery of forgeries and identity theft by
            FCB employees and to make all records concerning each
            customer available for inspection by that customer so that
            the customer can determine for himself or herself whether
            any forgeries or fraudulent transactions using that
            customer’s identity or information have occurred [see Doc.
            1, ¶ 100];

               (2)     An order from the court requiring FCB to obtain
            and provide, free of charge, to each customer who claims
            that a fraudulent activity occurred, a credit report for that
            customer from a reputable credit reporting agency so that
            the customer can determine whether any false credit
            reports were made due to fraudulent transactions using
            that customer’s identity [see id., ¶ 101];

                (3)     An order from the court on behalf of each FCB
            customer for whom it is determined that the customer’s
            identity and/or financial information was used by
            employees or representatives of FCB without permission to
            issue loans, obtain credit, transfer funds, and for other
            financial transactions (that is, the class) requiring FCB to
            send a letter to the principal credit reporting agencies
            generally notifying those agencies of the fact that the
            customer was a victim of identity theft and fraud which may
            have resulted in an incorrect negative report in the
            customer’s credit history and specifically notifying the
            agencies of particular notations or reports that are false
            [see id., ¶ 102]; and

               (4)     An order from the court requiring FCB to pay for
            a title examination of each class member’s real property
            and to prepare and record, at no cost to the class member,
            corrected deeds and documents to correct each false,
            forged, or otherwise fraudulent document that has been
            recorded [see id., ¶ 103].




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                                             III.

                                     FCB’s Position5



              In response to the allegations set forth in the complaint, FCB has filed

 an answer and has also filed a counter-claim against some of the plaintiffs. More

 specifically, FCB has sued Boyd and Nancy Smith, jointly and severally, for more

 than $108,000, Nancy Smith for another $12,500, Joey Smith for more than $44,000,

 Jeffrey Smith for more than $24,000, Ernest and Patricia Nicely, jointly and severally,

 for $21,500, Ernest Nicely for an additional amount of more than $14,000, and

 Patricia Nicely for an additional amount of more than $19,000.6



              In support of its position that the petition for class certification should be

 denied, FCB has filed the affidavit of its internal auditor and compliance officer,

 Joyce Love [see Doc. 45, attachment]. In her affidavit, Ms. Love testifies verbatim

 in pertinent part as follows:



       5
         Defendants Deloris Graves and Sheri Lawson have adopted the position of FCB as
 set forth in its brief [see Docs. 46 and 47, respectively]. Defendant Lawson also filed a
 supplemental brief, the primary purpose of which was to distinguish two cases tendered to
 the court by plaintiffs during oral argument on July 12, 2005 [see Doc. 48]. The court
 agrees with Ms. Lawson’s analysis of these two cases.
       6
         The record also reflects that the Smith counter-defendants have filed an eight-page
 answer to the counter-claim, denying many of FCB’s allegations [see Doc. 24]; however,
 the Nicely counter-defendants have filed no answer to the counter-claim, even though it
 was filed on April 25, 2005 [see Doc. 10 in 3:05-cv-175].

                                              8


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                2.      Defendant Connie Dyer was the assistant
            branch manager, and later branch manager, of the
            Maynardville branch of the bank, and had authority to make
            loans. It appears that Ms. Dyer engaged in a number of
            irregular transactions, including creation of loans of which
            the purported borrowers had no knowledge and the moving
            of funds into and out of customers’ accounts without their
            knowledge. The bank was unaware that the loans were
            fraudulent, and reported the loans to credit reporting
            agencies as loans taken out by the customers. The bank
            discovered the problem in July, 2004, when a customer
            contacted the bank about questionable information Connie
            Dyer had given her on her account. When the bank
            discovered irregularities in Ms. Dyer’s dealings with the
            customer’s account, the bank launched a full-scale
            investigation, under my supervision. At that time, Ms. Dyer
            resigned from her employment with the bank.

                3.       Acting under my supervision, bank employees
            contacted all customers who had open loans in Connie
            Dyer’s loan portfolio, which consisted of 495 loans, and all
            customers who had open loans in Defendant Deloris
            Graves’ loan portfolio, which consisted of 252 loans. Ms.
            Graves was the branch manager until February, 2004 and
            was the only other person at the branch with authority to
            make loans. For each loan, the bank mailed to the
            borrower a loan confirmation form stating the loan number
            and current balance, and asking the borrower to [inform]
            the bank of any questions or discrepancies by describing
            them in a space provided on the form and returning the
            form to the bank. The loan confirmation forms were first
            mailed to all borrowers in August, 2004. In September and
            October of 2004, a second round of confirmation forms
            were mailed to the borrowers who had not yet responded
            to the first mailing.

               4.      Of the 747 loan confirmation forms sent, 590
            were returned. When a borrower raised questions about
            his or her loans, the bank reviewed the loan documents

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        and related transactions and met with the borrower. Thirty-
        six borrowers asserted that unauthorized loans or
        transactions had occurred. The bank obtained affidavits
        from most of those borrowers confirming that the loans or
        other transactions were unauthorized. The bank then
        forgave all unauthorized loans, corrected the unauthorized
        transactions, returned any funds owing to the borrower,
        and notified all credit reporting agencies to remove the
        unauthorized loans from the borrower’s credit report.

            5.        Borrowers did not return confirmation forms for
        157 of the loans. Of those loans, 85 have since been paid
        in full by the borrowers, renewed or charged off. Borrowers
        are still making payments on an additional 67 loans.
        Another three unreturned confirmation forms were sent to
        plaintiffs Nancy Smith, Jill Smith and Greg Huston [sic].

            6.      Under my supervision, bank employees also
        mailed a confirmation form and an account statement to
        each customer who had a “Mighty Oak” Savings Account
        with the bank. Those accounts had larger balances than
        other savings accounts, received only quarterly statements
        and seemed to have been used by Ms. Dyer in some
        irregular transactions. As with the loans, the confirmation
        form asked the customers to note any discrepancies or
        questions on the form and to return the form to the bank.
        The bank sent the confirmation forms to the holders of 209
        Mighty Oak accounts in August, 2004. In September,
        2004, the bank sent another confirmation form and account
        statement to each account holder who had no responded
        to the previous notice. Of the 209 forms sent, 163 were
        returned. When a customer asserted that there were
        discrepancies, the bank reviewed the transactions and met
        with the customer. Seven customers asserted that
        unauthorized transactions had occurred. The bank
        obtained affidavits from those customers confirming that
        the transactions were unauthorized. The bank then
        corrected the transactions and returned any funds owing to
        the customers. Of the 46 accounts for which confirmation
        forms were not returned, 5 have been closed with no
        complaint from the customer. Each customer has received

                                     10


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         three quarterly account statements since the bank sent its
         second confirmation form.

            7.        When a customer has claimed fraud, the bank
         has asked the customer to sign a sworn affidavit stating
         that the loan or other transaction was unauthorized. Based
         on such affidavits, as of early this year the bank had
         reimbursed or paid out in excess of $583,000.00 to make
         up fraud losses. The bank has made up all of the fraud
         losses it has discovered to date, including all losses
         suffered by plaintiffs, with the possible exception of one of
         the claims made by plaintiffs William and Peggy Gray,
         discussed later in this affidavit. The bank also has
         corrected the credit reports for 27 customers. The bank
         has not corrected some credit reports relating to some of
         the plaintiffs.

            8.      In addition to the complaints from the plaintiffs
         in this case, the bank has received complaints about
         unauthorized transactions from Ernest and Patricia Nicely.7
         The Nicelys received and returned the loan confirmation
         forms sent to them by the bank, and met with bank
         representatives, including myself, to discuss their questions
         concerning their loans.

            9.        As soon as it discovered possible fraudulent
         activity, the bank reported the matter to the FBI, FDIC and
         the Tennessee Department of Financial Institutions. The
         bank has been cooperating fully with the FBI in its
         investigation of this matter.

           10.        It is my understanding from discussions with the
         plaintiffs and from common knowledge in the community
         that all of the plaintiffs are related to one another and to
         Connie Dyer. Boyd Smith and Nancy Smith are husband
         and wife. Joey Smith, Jeffrey Smith and Jill Smith are their
         children. Bessie Hackney is Nancy Smith’s mother. Peggy
         Gray is Nancy Smith’s sister. Gregory Houston is a
         nephew of Peggy Gray and Nancy Smith. Connie Dyer is

   7
    As discussed earlier, the Nicelys are now plaintiffs in this case.

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        a cousin to Boyd Smith and the niece of William Gray, who
        is Peggy Gray’s husband.

            11.     All of the plaintiffs had some loans that they
        allege were fraudulently created by Connie Dyer.
        However, none of the plaintiffs has lost any money from
        their accounts at the bank, with the possible exception of
        William and Peggy Gray, discussed later in this affidavit.
        The Smith family has received large sums of money
        wrongfully taken from the bank, as set forth in the bank’s
        Counterclaim against the Smiths. The bank’s records
        show that Boyd and Nancy Smith have received at least
        $108,310.05 in funds that were taken from the bank by
        Connie Dyer, including payoffs of legitimate loans owed by
        Boyd and Nancy Smith. Their son, Joey Smith, had a truck
        loan and a boat loan from the bank that were not on the
        bank’s books and were paid off with money taken by Ms.
        Dyer in the amount of at least $44,263.98. Their son,
        Jeffrey Smith, also had a truck and boat loan not on the
        books and paid off with funds taken by Ms. Dyer in the
        amount of at least $24,000.71. Mr. and Mrs. Smith have
        met with bank representatives to discuss their loans and
        other transactions, but have refused to meet further with
        the bank to review the results of the bank’s investigation of
        their loans, and have not given the bank the affidavits, like
        those given by other customers, stating that any of their
        loans or transactions were unauthorized.

           12.    Nancy and Boyd Smith were consistently
        overdrawn in their bank accounts, and it appears that loans
        were created in their names to cover overdrafts. Ms. Dyers
        has admitted to me and to other bank employees that she
        engaged in manipulation of accounts under pressure from
        Nancy Smith, who needed money.

           13.     Plaintiff Jill Smith’s credit report has been
        corrected by the bank, to remove any reference to a loan
        that may have been unauthorized.

           14.     Plaintiff Bessie Hackney has asserted that
        several loans were fraudulently created in her name, and

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        has signed affidavits to that effect. In meetings with myself
        and other bank employees, she admitted to having two
        legitimate loans. All loans have been removed from her
        credit report except for the two loans she admitted were
        legitimate.

           15.      Gregory Houston had a number of loans in his
        name at the bank, most of which have been paid off, and
        some of which he has claimed were fraudulent. He has not
        lost any money through fraud. His credit report has not
        been corrected, because he has refused to sign an affidavit
        stating that the loans were fraudulent.

            16.      William and Peggy Sue Gray have not lost any
        money from fraudulent loans, although fraudulent loans
        may have been created in their names. Mr. Gray claims
        that he lost in excess of $70,000.00 in proceeds of the CD.
        He claims that he initially deposited $40,000.00 to buy his
        first CD, which has been repeatedly renewed. The bank’s
        records show that his first CD was opened in 1989 in the
        amount of $26,000.00. Mr. Gray has produced no proof
        that he made a deposit in the amount of $40,000.00. The
        bank’s records show that the $26,000.00 CD was renewed
        several times and for a time was converted into a savings
        account and then back into a CD. Ultimately, in 1999, the
        CD was cashed in for $43,300.46, of which $25,000.00
        was deposited to the account of Boyd Smith; $8,932.85
        was converted to a cashier’s check payable to Mr. Gray, of
        which $800.00 was paid on a loan in the name of Mr. Gray;
        and $9,367.61 was used to pay off a loan in Mr. Gray’s
        name, supposedly for the purchase of a tractor. However,
        Mr. Gray has admitted to me and to other bank employees
        that the money represented by the CD is not his, but is his
        mother’s money, which was put in his name so that his
        mother could obtain benefits from the federal government.
        Mr. Gray has also admitted to me and to other bank
        employees that he asked Ms. Dyer to transfer the CD funds
        from his name to the names of Ms. Dyer’s children so that
        his wife, plaintiff Peggy Gray, could obtain benefits from the
        federal government.



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[Doc. 45, attachment].


                                            IV.

                                   Law and Analysis



             In order to obtain class certification, plaintiffs must establish each of the

following threshold requirements: (1) the class must be so numerous that joinder of

all members is impracticable; (2) there must be questions of law or fact common to

the class; (3) the claims or defenses of the representative parties are typical of the

claims or defenses of the class; and (4) the representative parties must fairly and

adequately protect the interest of the class. Fed.R.Civ.P. 23(a). These four

requirements, or prerequisites, have been given the shorthand designations of

numerosity, commonality, typicality, and adequacy of representation. See, e.g.,

Coleman v. Gen. Motors Acceptance Corp., 296 F.3d 443, 446 (6th Cir. 2002). Even

if plaintiffs can satisfy the four prerequisites for class certification found in Rule 23(a),

plaintiffs must also show that they satisfy one of the three types of class actions

found in Fed.R.Civ.P. 23(b). However, because the court finds that plaintiffs have

failed to meet any of the threshold requirements, it will not be necessary to analyze

whether these plaintiffs satisfy one of the three types of class actions found in Rule

23(b).



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                                         A.

                                    Numerosity



            The first prerequisite under Rule 23(a) is that “the class is so numerous

that joinder of all members is impracticable ... .” Fed.R.Civ.P. 23(a)(1). The Sixth

Circuit has observed that “[t]here is no strict numerical test for determining

impracticability of joinder.” In re: Am. Med. Sys., Inc., 75 F.3d 1069, 1079 (6th Cir.

1996) (citing Senter v. Gen. Motors Corp., 532 F.2d 511, 523 n.24 (6th Cir.), cert.

denied, 429 U.S. 870 (1976)). Furthermore, while “the exact number of class

members need not be pleaded or proved, impracticability of joinder must be

positively shown, and cannot be speculative.” McGee v. East Ohio Gas Co., 200

F.R.D. 382, 389 (S.D. Ohio 2001) (quotation and citations omitted); see also 7A

Charles Alan Wright and Arthur R. Miller, Mary K. Cane, Federal Practice and

Procedure § 1762 (3rd ed. 2001) (observing that the party seeking class certification

“bear[s] the burden of showing impracticability and mere speculation as to the

number of parties involved is not sufficient to satisfy Rule 23(a)(1)”). Finally, the

district court must engage in a “rigorous analysis” when evaluating the plaintiff’s

proof of numerosity. See Gen. Tel. Co. v. Falcon, 457 U.S. 147, 161 (1982).



            Here, plaintiffs seek certification of a class consisting of all customers

of the Union County Branch of FCB whose identities or financial information were

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used by bank employees without their permission during the period from January 1,

1998, to the present. Plaintiffs contend that the potential number of class members

is equal to the number of customers at that branch of FCB since January 1, 1998.

While the plaintiff class speculates that this number “exceeds 100" [see Doc. 41,

p.8], plaintiffs offer no proof as to how many of FCB’s customers actually fall into the

proposed class, which again would consist only of those customers who suffered

damages from improper transactions. Absent such proof, this court is reluctant to

certify this case as a class action.



             In support of this finding, the court relies in part on the recent case of

Golden v. City of Columbus, 404 F.3d 950 (6th Cir. 2005). In Golden, plaintiff sought

certification of a class consisting of tenants in Columbus, Ohio, who had suffered

equal protection violations when the City terminated their water service without a

rational basis to do so. Id. at 966. While plaintiff offered evidence that there were

150,000 renters in the City, he offered no evidence - other than “bare speculation” -

as to how many of them had had their service wrongfully terminated. Id. The Sixth

Circuit upheld the district court’s denial of class certification, holding that the use of

the total tenant population was too speculative to meet the numerosity requirement.

Id.; see also Siles v. ILGWU Nat. Retirement Fund, 783 F.2d 923, 930 (9th Cir.

1986) (in action alleging wrongful denial of pension benefits, Rule 23(a)(1) was not

satisfied by a showing that 31,000 potential class members had lost their jobs in

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1974 and 1975; plaintiffs had to produce evidence as to how many employees did

not receive a pension, how many worked ten years in covered employment, or how

many did not work a year in covered employment after 1976). In this case, plaintiffs

are similarly asking the court to speculate as to how many of the bank’s customers

were defrauded over a period of seven years. This speculation does not satisfy Rule

23(a)(1).



              Moreover, in view of the notice already provided by FCB to its customers

as outlined in Ms. Love’s affidavit, the court agrees with FCB that it is “highly

unlikely” that there are many remaining members of the proposed class who have

not already come forward.8           To reiterate, FCB’s exhaustive investigation and

contacts with customers show that of the 747 loans open at the branch at issue in

August 2004, only 36 were alleged by the borrowers to involve improprieties. Of the

209 “Mighty Oak” accounts, only seven customers have alleged improper

transactions. FCB has, according to Ms. Love’s affidavit, reimbursed its customers

for all losses and has corrected all affected credit reports with the exception of some


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         Upon inquiry by the court during oral argument, plaintiffs’ counsel could only identify
two other potential plaintiffs, Steve and Judy Sexton. Given the outstanding job that
plaintiffs’ counsel has performed to date in this litigation, such a dearth of potential plaintiffs
confirms the court’s view that nearly all of the potential plaintiffs in this case have already
come forward. Additionally, the court takes judicial notice of the fact that The Knoxville
News Sentinel published an article on this very lawsuit on the front page of its Business
Section (Section C) on July 21, 2005. The court suspects that this newspaper article will
further “flush out” any remaining FCB customers arguably harmed by these unauthorized
banking transactions.

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matters involving these plaintiffs. Presumably, the customers who did not respond

to FCB’s inquiries about their loans or accounts have no complaint. Additionally,

FCB has received no complaints from customers with loans that were paid off before

August 2004, and it has received no complaints about erroneous credit reports, other

than from the plaintiffs in this consolidated case.



            Finally, the court is of the opinion that most, if not all, of any such class

members would presumably be located in a limited geographical area, i.e., Union

County. That said, joinder as to any potential plaintiffs in the future would be

relatively easy. The court finds, therefore, that plaintiffs have not carried their

burden of proving that joinder of all members would be impracticable. Consequently,

the first requirement of Rule 23(a)(1) has not been satisfied.



                                          B.

                                   Commonality



            The second threshold requirement that plaintiffs must meet is that there

be “questions of law or fact common to the class.” Fed.R.Civ.P. 23(a)(2). Although

Rule 23(a)(2) is couched in terms of “questions”, there need be only one question

common to the class to satisfy this requirement. See Sprague v. Gen. Motors Corp.,

133 F.3d 388, 397 (6th Cir. 1998) (citing Am. Med. Sys., 75 F.3d at 1080)).

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Nevertheless, the Sixth Circuit has held that not every common question will satisfy

this part of the rule: “It is not every common question that will suffice, however; at

a sufficiently abstract level of generalization, almost any set of claims can be said

to display commonality. What we are looking for is a common issue the resolution

of which will advance the litigation.” Id. In Sprague, the Sixth Circuit held that class

certification was improper under Rule 23(a)(2) where the claims of each class

member required individualized proof of the defendant’s transactions with, or

representations to, each member. Id. at 398.



             In this case, plaintiffs allege that class members were damaged by a

variety of unauthorized or fraudulent banking transactions including forgery,

fraudulently obtained loans, conversion of assets, and identity theft. In the court’s

view, proof of defendants’ liability, if any, to a particular class member will hinge on

the particular facts of the alleged unauthorized loan, balance transfer or other

transaction affecting that particular member and only that particular member.



             There is another problem in this action which is not present in many

cases which have received class certification. Here, plaintiffs have not sued one

corporate defendant responsible for a single course of conduct; rather, they have

sued four defendants, three of whom are individuals. Consequently, the liability of

these defendants may very well differ.         The Sixth Circuit recently noted this

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difference in Ball v. Union Carbide Corp., 385 F.3d 713 (6th Cir. 2004),

distinguishing Sterling v. Velsicol Chem. Corp., 855 F.2d 1188 (6th Cir. 1988), a

case heavily relied on by plaintiffs in this action. As the Ball court observed, Sterling

stands for the proposition that “‘where the [one] defendant’s liability can be

determined on a class-wide basis because the cause of the disaster is a single

course of conduct which is identical for each of the plaintiffs, a class action may be

the best suited vehicle to resolve such a controversy.’” Ball, 385 F.3d at 728 (citing

Sterling, 855 F.2d at 1197). However, where there are multiple defendants with

presumably differing liability levels, “there is no ‘single course of conduct.’” Id. (citing

Sterling, 855 F.2d at 1197). For these same reasons, there is no single course of

conduct in this case so that plaintiffs have not demonstrated to the court’s

satisfaction that a meaningful commonality exists.



                                            C.

                                        Typicality



             Rule 23(a)(3) requires that “the claims or defenses of the representative

parties are typical of the claims or defenses of the class ... .” Fed.R.Civ.P. 23(a)(3).

“The premise of the typicality requirement is simply stated: as goes the claim of the

named plaintiff, so goes the claims of the class.” Sprague, 133 F.3d at 399. In

Sprague, the Sixth Circuit held that class certification was improperly granted where

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each class member’s claim would depend on the particular facts of his transactions

with defendant. A similar result was reached by the Sixth Circuit in Stout v. J.D.

Byrider, 228 F.3d 709 (6th Cir. 2000). There, the Sixth Circuit upheld denial of a

class consisting of persons allegedly defrauded when the defendant sold them

vehicles with concealed damage because proof of defendant’s liability to each

member would depend on the particularized facts of defendant’s transactions with

that member. Id. at 717. Likewise, in the instant case, defendants’ liability, if any,

to a particular class member will depend on the facts of each transaction.



            There are also several other reasons why the claims of the named

plaintiffs in this case are not typical with the claims of the proposed class members.

First, all of the plaintiffs, except for the Nicelys, are relatives of defendant Connie

Dyer. FCB, as indicated earlier, has filed counter-claims against the Smith plaintiffs

based on their receipt of funds embezzled from FCB and based on, according to

FCB, their “apparent complicity with defendant Connie Dyer ... .” [See Doc. 45,

p.14]. These circumstances, standing alone, clearly disqualify them from being

typical claimants.



            Furthermore, with the possible exception of the Grays and the Nicelys,

plaintiffs have suffered no monetary loss from any action by defendants. The Grays’

claim is also tenuous based on Mr. Gray’s admission that the funds they allegedly

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lost did not belong to them. Moreover, FCB, according to the affidavit of Ms. Love,

has corrected all erroneous credit information when plaintiffs have sworn that the

loan in question was unauthorized. Consequently, plaintiffs cannot represent a class

seeking relief to which they are not entitled or which they have already obtained.

See Cash v. Swifton Land Corp., 434 F.2d 569, 571 (6th Cir. 1970) (“The claims of

the named plaintiffs, the Cashes, for injunctive relief having been satisfied, ‘[t]hey

cannot represent a class of whom they are not a part.’”) (citations omitted). Thus,

the court finds that the claims of the named plaintiffs are not typical of those in the

proposed class.



                                             D.

                               Adequate Representation



               The final requirement of Rule 23(a) is that “the representative parties will

fairly and adequately protect the interests of the class.” Fed.R.Civ.P. 23(a)(4). The

Sixth Circuit has established two criteria for determining adequacy of representation:

“1) The representatives must have common interest with unnamed members of the

class, and 2) it must appear that the representatives will vigorously prosecute the

interests of the class through qualified counsel. Senter v. Gen. Motors Corp., 532

F.2d at 525.




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             The first criterion, that of common interest, essentially requires that there

be no antagonism of interest or conflict of interest between the representative

plaintiffs and the other members of the class they seek to represent. In re: Medical

Sys., 75 F.3d at 1083. The second criterion concerns the competency of counsel.

Id. The Sixth Circuit has stated that the adequacy of representation prerequisite

overlaps with the typicality requirement because “in the absence of typical claims,

the class representative has no incentives to pursue the claims of the other class

members.” Id.



             In this case, the court concludes that the named plaintiffs would not be

adequate class representatives for the very same reasons that their claims are not

typical. Thus, this requirement is not met.9



             Consequently, because plaintiffs have not satisfied any of the necessary

prerequisites of Rule 23(a) for class certification, their motion to do so must be

denied.

             Order accordingly.

                                                         s/ James H. Jarvis
                                                  UNITED STATES DISTRICT JUDGE


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         The court would state for the record, however, that it has no reservation whatsoever
in finding that these plaintiffs do have qualified counsel who would be able to manage a
class action of this magnitude. However, qualified counsel, even extremely qualified
counsel, is simply not enough to carry the day on this particular prerequisite.

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